       Case 4:98-cr-00044-RH    Document 305     Filed 09/21/05   Page 1 of 2



                                                                                Page 1 of 2


           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

v.                                                 CASE NO. 4:98cr44-RH/WCS

KATONYA CHISHOLM,

               Defendant.

_________________________________/


               ORDER SETTING PROCEDURES ON MOTION FOR
               EARLY TERMINATION OF SUPERVISED RELEASE


       Upon consideration of defendant’s motion for early termination of

supervised release,

       IT IS ORDERED:

       1. The Probation Office shall provide a memorandum to the court (hereafter

referred to as a “fact memorandum”) setting forth the date when defendant’s

supervised release commenced and is scheduled to terminate, indicating whether

defendant is and has been in compliance with the terms of her supervised release,

and setting forth such additional information as the Probation Office deems

appropriate. The Probation Office shall provide a copy of the fact memorandum to

the parties.
         Case 4:98-cr-00044-RH    Document 305     Filed 09/21/05   Page 2 of 2



                                                                                  Page 2 of 2


         2. The Probation Office may include any recommendation in the fact

memorandum or, at its option, in a separate memorandum (hereafter referred to as

a “recommendation memorandum”) that will not be disclosed to the parties. No

action adverse to a party will be taken based on factual information included in a

recommendation memorandum without affording the party an opportunity to

respond.

         3. The government shall file a response to defendant’s motion for early

termination of supervised release within 14 days after service of the Probation

Department’s fact memorandum in accordance with paragraph 1 above.

         SO ORDERED this 21st day of September, 2005.

                                               s/Robert L. Hinkle
                                               Chief United States District Judge




Case No: 4:98cr44-RH/WCS
